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       EXHIBIT 13
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                                                                   Page 1

1
2       UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
3       Civil Case NO.   17-CV-02393
        --------------------------------------------X
4       CIERA WASHINGTON,
5                             Plaintiff,
6              -against-
7       WALGREENS; WALGREENS CO.; DUANE READE; DUANE
        READE INC.; DUANE READE INTERNATIONAL, LLC;
8       and Individually and Jointly; LUIS GUERRERO;
        GERMAINE ALLEN; VIVIAN GHOBRIAL; and CRYSTAL
9       BECKRUM,
                              Defendants.
10
        --------------------------------------------X
11
                                 1250 Broadway
12                               New York, New York
13                               February 14, 2018
                                 1:34 p.m.
14
15                         PORTIONS CONFIDENTIAL
                           ATTORNEYS' EYES ONLY
16
17             EXAMINATION BEFORE TRIAL of TROY
18      HENNESSY, on behalf of Defendants, by the
19      Plaintiff in the above-entitled action, held
20      at the above time and place, taken before
21      JENNIFER CRUZ, a Professional Shorthand
22      Reporter and Notary Public of the State of New
23      York, pursuant to Notice and stipulations
24      between Counsel.
25

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1                                    T. HENNESSY
2           when she purchased those price modified
3           items, that she was aware that Gregory Spears
4           modified those prices in a questionable --
5           that it was questionable -- when I say
6           "questionable," I mean in a bad way.
7                        MR. WARSHAW:           Objection to form.
8                   A.   Yes.
9                   Q.   Meaning that -- I'm saying bad, I'm
10          trying to find a better way.
11                       That she knew that he violated
12          company policy.          Let's put it that way.
13                       MR. WARSHAW:           Objection to form.
14                  Q.   Did anyone ever tell you that?
15                  A.   Yes.
16                  Q.   Who?
17                  A.   Ciera Washington.
18                  Q.   Ciera Washington told you that she
19          knew -- at the time when she purchased the
20          items, that she knew that he modified them in
21          a way that was a violation of company policy?
22                       MR. WARSHAW:           Objection to form.
23                  A.   No.
24                  Q.   Okay.      So what are you saying that
25          Ciera Washington told you?

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1                                    T. HENNESSY
2                   A.   I'm saying that she told me that
3           during her tenure with the company she knew
4           general prices of items in the store and that
5           if an item was -- if an item was rung up at
6           the wrong price, that she would be aware of
7           it.      As part of my interview, she stated
8           that, so yeah.
9                   Q.   That's it, though?
10                  A.   Correct.
11                  Q.   Okay.      So other than that
12          statement -- and you are aware that at the
13          time when the price modifications happened,
14          the store that Ciera Washington worked in had
15          thousands of products; correct?
16                       MR. WARSHAW:           Objection to form.
17                  A.   Yes.
18                  Q.   Okay.      So did Ciera Washington ever
19          say to you, I knew when I purchased the
20          items, that Gregory Spears changed those
21          prices in a way that was a violation of
22          company policy?
23                  A.   She did not.
24                  Q.   Okay.      Or in sum and substance make
25          that statement?

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1                                    T. HENNESSY
2                        Did Luis Guerrero -- do you know the
3           timing of when Luis Guerrero told her she was
4           suspended versus the timing of when Ciera
5           Washington gave her statement, her voluntary
6           statement?
7                   A.   Yes.
8                   Q.   What was the timing?
9                   A.   It was after.
10                  Q.   Okay.      So after Ciera Washington
11          wrote down her voluntary statement, Luis
12          Guerrero said you're suspended?
13                  A.   Not directly after, but --
14                  Q.   During that meeting?
15                  A.   During that meeting, correct.
16                  Q.   Okay.      Do you know what else
17          happened in that meeting?
18                       You were there.
19                       What else happened in that meeting?
20                  A.   In that meeting I interviewed her, I
21          explained who I am and what I do, I
22          interviewed her, I got her statement and then
23          I handed it off to Luis after that.
24                  Q.   He was in the room?
25                  A.   Correct.

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1                                    T. HENNESSY
2                   Q.   What do you mean, you handed what
3           off?
4                   A.   So that's the end of my job, is to
5           collect the facts.             And then I said, you
6           know, the next steps are up to operations, so
7           he'll talk to you about, you know, what's
8           going to happen next.
9                   Q.   Understood.           Okay.
10                       When you said "handed off," you were
11          using it, I believe, colloquially.
12                  A.   Correct.
13                  Q.   So I'm trying to understand, did you
14          physically hand any documents to anyone,
15          meaning did you physically hand documents to
16          Luis Guerrero?
17                  A.   Yes.
18                  Q.   And were those documents Ciera's
19          voluntary statement?
20                  A.   Correct.
21                  Q.   Okay.      And there was also a
22          voluntary statement from Luis Guerrero;
23          right?
24                  A.   Yes.
25                  Q.   Okay.      And that statement -- you

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1                                    T. HENNESSY
2           and information that you reviewed in
3           investigating Ciera Washington, did you see a
4           pattern of price modification --
5                   A.   Can --
6                   Q.   I'm sorry, I don't even know what it
7           means.
8                        You looked in terms of four -- it
9           was four transactions with respect to Gregory
10          Spears in connection with Ciera Washington,
11          correct, remember we talked about that?
12                  A.   Correct.
13                  Q.   Okay.      And again, the entirety of
14          the items that Gregory Spears price modified
15          that Ciera Washington purchased were four
16          transactions in total, correct, do you
17          remember?
18                  A.   Correct.
19                  Q.   Okay.      And those were all dated --
20          we already talked about those.
21                       They were dated in early October,
22          10/13, 10/8; right?
23                  A.   Yes.
24                  Q.   Another one, 10/2/15; correct?
25                  A.   Correct.

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1                                    T. HENNESSY
2                   Q.   And another one, 10/2/15; correct?
3                   A.   Correct.
4                   Q.   Okay.      So it's just four
5           transactions; correct?
6                   A.   Correct.
7                   Q.   And none of them occurred in
8           November 2015; correct?
9                   A.   That's correct.
10                  Q.   They all occurred in early October;
11          correct?
12                  A.   Correct.
13                  Q.   Okay.      Did anyone ever say to you at
14          any time that Ciera Washington had any
15          involvement in a pattern of price
16          modification?
17                  A.   Not that I recall.
18                  Q.   Has anyone ever said to you in sum
19          and substance that Ciera Washington was
20          involved in any way in a purported pattern of
21          price modification at all?
22                  A.   Not that I recall.
23                  Q.   Okay.      And when Luis Guerrero wrote
24          down this voluntary statement on
25          February 22nd, 2016, did anyone tell you to

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1                                    T. HENNESSY
2           look into any sort of pattern of price
3           modification involving Ciera Washington?
4                   A.   No.
5                   Q.   Did you look into a pattern of price
6           modification allegedly regarding Ciera
7           Washington?
8                   A.   Yes.
9                   Q.   Did you write anywhere down that you
10          believe that there was a pattern of price
11          modification?
12                  A.   No.
13                  Q.   And in your investigative report
14          with respect to Ciera Washington, there is
15          nothing there -- you didn't write anything
16          down indicating that Ciera was part of a
17          purported pattern of price modification;
18          correct?
19                       MR. WARSHAW:           Objection.
20                  Q.   You didn't state those words
21          anywhere in your full narrative; correct?
22                  A.   The words pattern of price
23          modifications, no, I did not.
24                  Q.   Okay.      In fact, all you wrote with
25          respect to Ciera Washington and any price

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1                         T. HENNESSY
2       to be listed here.             So if you choose to be
3       -- if you choose Ciera Washington, then
4       they wouldn't be listed here.
5              Q       When you say here, she wouldn't
6       be listed as the subject allegation?
7              A       Correct.        I believe that's how
8       it works.
9              Q       So you don't know for certain
10      how that works?
11             A       No.
12             Q       So you can't state for certain
13      as to why Ciera Washington is not listed
14      as the subject of allegation on DR848,
15      correct?
16             A       No, I cannot.
17             Q       But Shayna Davis is listed as a
18      subject, right?
19             A       Yes.
20             Q       And Gregory spears is listed as
21      a subject?
22             A       Yes.
23             Q       And Janyll Perez is listed as a
24      subject; is that right?
25             A       Correct.

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